
929 A.2d 631 (2007)
M. Diane KOKEN, Insurance Commissioner of the Commonwealth of Pennsylvania
v.
RELIANCE INSURANCE COMPANY Vitas Healthcare Corporation, Vitas Holdings, Vitas Healthcare of Texas, Magellan Reinsurance Co. Ltd., RBH Reinsurance Co., Celanese Americas Corporation Ins. Ltd., Elmwood Ins. *632 Ltd., Celwood Ins. Co., Citicorp Ins. USA, Citicorp, Clients Assurance Pool Ltd., CSX Ins., Fuji Bank, Guaranty Associations I, NM Mutual, SW Casualty, Ellen Diamond, EarthTech Inc., Intervenors.
Appeal of Sage Realty Corporation.
Supreme Court of Pennsylvania.
July 17, 2007.

ORDER
PER CURIAM.
The Order of the Commonwealth Court is affirmed.
